      Case: 1:20-cv-00241-SA-DAS Doc #: 67 Filed: 05/13/22 1 of 2 PageID #: 880




              IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                       ABERDEEN DIVISION
SHEARSON HAUGHTON                                                               PLAINTIFF

V.                                                 CIVIL ACTION NO. 1:20-cv-241-SA-DAS

JA-CO FOODS, INC. d/b/a SONIC DRIVE-IN’S                                      DEFENDANT

                                NOTICE OF APPEARANCE

        COMES NOW, Timothy W. Lindsay of the law firm Butler Snow LLP and provides notice

of appearance as counsel of record on behalf of Defendant Ja-Co Foods, Inc. d/b/a Sonic Drive

In’s in the above styled and numbered cause.

        THIS, the 13th day of May, 2022.

                                      Respectfully submitted,

                                      JA-CO FOODS, INC. d/b/a SONIC DRIVE-IN’S,
                                      Defendant

                                  By: /s/ Timothy W. Lindsay
                                      Timothy W. Lindsay (MS Bar No. 1262)
                                      Robin Banck Taylor (MS Bar No. 100195)

                                    ITS ATTORNEY

OF COUNSEL:

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                                 CERTIFICATE OF SERVICE

        I, Timothy W. Lindsay, hereby certify that on this date I electronically filed the above and

foregoing with the Clerk of the Court using the ECF system which sent notification of such filing

to the following:

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        ATTORNEYS FOR PLAINTIFF

        This, the 13th day of May, 2022.

                                                      /s/ Timothy W. Lindsay
                                                      Timothy W. Lindsay




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